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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                                    11/21/2024
 MOLLY C., et al.,
                                                          21-CV-10144 (PGG) (BCM)
                Plaintiffs,
        -against-                                         OPINION AND ORDER

 OXFORD HEALTH INSURANCE, INC.,
                Defendant.

BARBARA MOSES, United States Magistrate Judge.

       Plaintiffs Molly C. and Naomi L. are beneficiaries of group health insurance plans

administered by defendant Oxford Health Insurance, Inc. (Oxford). Beginning in 2019, plaintiffs

were diagnosed with eating disorders, received outpatient nutritional counseling as part of their

treatment, and submitted claims for that counseling to Oxford, which denied them on the ground

that their plans did not cover those services. Because Oxford did cover nutritional counseling for

diabetes, plaintiffs contend that its failure to do the same for eating disorders violated the Mental

Health Parity and Addiction Equity Act (Parity Act), 29 U.S.C. § 1185a.

       By motion dated March 22, 2024, plaintiffs seek to certify a class consisting of all persons

who were covered under an Oxford group health insurance plan in New York, were diagnosed

with one of five specified eating disorders (EDs), received outpatient nutritional counseling from

November 30, 2015 to the present (the Class Period), and either (a) submitted claims for that

counseling, which Oxford denied on the ground that it was "not a covered benefit" (the Denied

Claims Subclass), or (b) did not submit claims (the No Claims Subclass). In order to establish the

required numerosity of each proposed subclass, plaintiffs rely on two expert declarations from

Frank Fox, Ph.D., who estimates – based on claims data supplied by Oxford – that during the Class

Period at least 458 Oxford members with EDs submitted at least 1,461 claims for outpatient

nutritional counseling that were denied because the treatment was "not a covered benefit." Dr. Fox
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also opines that, during the same period, 1,300 to 1,795 Oxford members per year would have

received nutritional counseling for their EDs, had it been a covered benefit, and that 513 to 709

Oxford members per year actually did receive such treatment.

       Now before me, on referral from the Hon. Paul G. Gardephe, United States District Judge,

is Oxford's motion, filed on May 10, 2024 (Dkt. 84), to exclude Dr. Fox's opinions pursuant to

Fed. R. Evid. 702 and the standards set forth in Daubert v. Merrell Dow Pharmaceuticals, Inc.,

509 U.S. 579 (1993) and its progeny.1 As to the Denied Claims Subclass, defendant primarily

argues that Dr. Fox merely performed "simple mathematics" that did not require any specialized

expertise. As to the No Claims Subclass, defendant argues that Dr. Fox's opinions are not relevant

to numerosity, and are in any event inherently unreliable.

       After careful review of the parties' papers, I conclude that Dr. Fox's opinions are relevant

to the pending certification motion and that defendant's reliability arguments go to their weight,

not their admissibility. Moreover, because the challenged expert evidence is offered in support of

class certification, as to which the District Judge is both gatekeeper and factfinder, "there is no risk

of jury confusion," Simmons v. Garland, 2024 WL 1468239, at *3 (E.D.N.Y. Mar. 20, 2024), and

"all doubts should be resolved in favor of admissibility." Am. Empire Surplus Lines Ins. Co. v. J.R.

Contracting & Env't Consulting, Inc., 2024 WL 3638329, at *4 (S.D.N.Y. Aug. 2, 2024) (internal

quotation marks and citation omitted). Consequently, as explained in more detail below,

defendant's motion will be denied.


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   Plaintiff's class certification motion remains pending before Judge Gardephe. However,
defendant's Daubert motion is within my referral for general pretrial management (see Dkt. 60),
made pursuant to 28 U.S.C § 636(b)(1)(A) and Fed. R. Civ. P. 72(a). See Israel v. Springs Indus.,
Inc., 2007 WL 9724896, at *2 (E.D.N.Y. July 30, 2007) (because a Daubert motion is
"nondispositive of the litigation, disposition of it by a magistrate judge in the form of an order and
not a Report and Recommendation is appropriate") (collecting cases); accord BS Pac. Life Ins. Co.
v. Bank of New York Mellon, 571 F. Supp. 3d 106, 111 (S.D.N.Y. 2021).

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I.      BACKGROUND

        A.     Plaintiffs' Allegations

        Oxford issues and administers health insurance plans in New York, including group plans

governed by the Employee Retirement and Income Security Act of 1974 (ERISA), 29 U.S.C.

§§ 1001-1461, of which the Parity Act is a part. See Am. Compl. (Dkt. 35) ¶¶ 5, 12. Plaintiffs

Molly C. and Naomi L. are beneficiaries of ERISA-governed group health insurance plans

administered by Oxford in New York. Id. ¶¶ 15, 20, 23, 44. Starting in 2019, they received

treatment for EDs, including outpatient nutritional counseling. Id. ¶¶ 28-30, 49-50. However,

Oxford rejected their counseling claims on the ground that those services were "not a covered

benefit" under their plans. Id. ¶¶ 30-31, 50-51, 55. As a result, both plaintiffs (or their parents)

were required to pay out of pocket for their treatment. Id. ¶¶ 41, 56. The Oxford plans did, however,

cover outpatient nutritional counseling for members diagnosed with "physical conditions such as

diabetes." Id. ¶ 4; see also id. ¶¶ 27, 42, 47, 57. Thus, plaintiffs allege, Oxford violated the Parity

Act's requirement that "benefits for mental health treatment [be] no more restrictive than benefits

for medical and surgical treatment." Id. ¶ 25 (citing 29 U.S.C. § 1185a(a)(3)(A)).

        Defendant admits that, "[p]rior to January 2021, Oxford plans issued in New York did not

expressly provide general coverage for nutritional counseling services," Def. Class Cert. Opp.

(Dkt. 95) at 2, and that Oxford denied some of the claims submitted by Molly C. and Naomi L. on

the ground that outpatient nutritional counseling for EDs was not a covered service. Id. at 5, 6-7.

In April 2021, Oxford "reconfigured its claims processing system to consistently provide coverage,

and pay claims, for nutritional counseling for eating disorders with dates of service on or after

January 1, 2021." Id. at 3. However, Oxford "could not" and did not "change the language of its

written plan documents," which did not list outpatient nutritional counseling as a covered benefit

for mental health conditions, until 2023. Id. at 3-4.
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        B.      The Class Definition

        In their operative complaint, filed on behalf of the named plaintiffs and "all others similarly

situated," Am. Compl. ¶ 68, plaintiffs define a single proposed class, consisting of all persons

covered under a group health insurance plan administered by Oxford in New York who were

diagnosed with an ED "and whose request for authorization or claim for reimbursement for

nutritional counseling or dietician services was made between November 30, 2015 and the present

. . . and was denied." Id. ¶ 69.

        In their class certification motion, filed almost two years later, plaintiffs request that the

Court certify two subclasses: (a) the Denied Claims Subclass, consisting of Oxford members

whose claims for outpatient nutritional counseling for EDs during the Class Period were denied on

the ground that such services were not covered; and (b) the No Claims Subclass, consisting of

members who received outpatient nutritional counseling for EDs during the Class Period but did

not submit claims for that treatment. Pl. Class Cert. Mem. (Dkts. 87, 89-1)2 at 2-3. The Class

Period remains November 30, 2015 to the present. Id.

        C.      Defendant's Interrogatory Responses

        In its supplemental interrogatory answers, dated October 13, 2023, Oxford acknowledged

that "1,360 claims for outpatient nutritional counseling services for eating disorders . . . with dates

of service November 30, 2015 through September 23, 2023, were submitted and denied on the

basis that the service was not a covered benefit," and that those claims were submitted by "427

unique Oxford members." Oxford Supp. Interrog. Resps. (Dkt. 91-1 at ECF pp. 65-78; Dkt. 93-2

at ECF pp. 65-78), at 4-5 (responses to Nos. 10 and 11). Over the same period, Oxford stated, a



2
 The parties requested and received permission to file some of their motion papers under seal.
Where double docket citations are provided, the first citation identifies the redacted, publicly-filed
document; the second citation identifies the unredacted, sealed document.
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total of 8,464 claims for outpatient nutritional counseling for EDs were submitted by 1,222 unique

Oxford members – many of which were allowed. Id. at 5 (response to No. 11). Oxford based its

responses on an Excel file (produced in discovery as OXF0032564) containing "records of claims

submitted to Oxford for nutritional counseling services for dates of service November 30, 2015 to

September 23, 2023 for members with [EDs]." Id. at 3 (response to No. 2).

       D.      The Numerosity Opinions

       On December 21, 2023, during pre-certification discovery (see Dkt. 50), plaintiffs served

Dr. Fox's initial declaration. See Fox Decl. (Dkt. 91-1 at ECF pp. 6-34; Dkt. 93-2 at ECF pp. 6-

34). On January 8, 2024, defendant served the rebuttal report of Michael J. Petron. See Petron Rep.

(Dkt. 96-5; Dkt. 100-5). On February 20, 2024, with leave of the Court (see Dkt. 78), plaintiffs

served Dr. Fox's supplemental declaration. See Fox Supp. Decl. (Dkt. 91-1 at ECF pp. 36-63; Dkt.

93-2 at ECF pp. 36-63). On February 26, 2024, Dr. Fox sat for deposition. See Fox Dep. Tr. I (Dkt.

85-2); Fox Dep. Tr. II (Dkt. 91-1 at ECF pp. 80-98; Dkt. 93-2 at ECF pp. 80-98).

               1.      Fox Declaration

       Dr. Fox is a consulting economist who provides healthcare planning, statistical analysis,

and financial consulting to hospitals and physician practices. Fox Decl. at 1. In his initial

declaration, Dr. Fox (i) estimates the number of Oxford members in New York who received

nutritional counseling for EDs between November 30, 2015 and the present (the Study Period);

(ii) analyzes the claims data produced by Oxford (OXF0032564) to independently determine the

number of claims for such counseling that were submitted over the Study Period, as well as those

that were denied on the ground that the services were not covered; and (iii) compares the two sets

of figures, offering a hypothesis as to the difference. Id. at 3-13.

       To estimate the "numerosity" of Oxford members in New York with EDs, and their

"expected utilization of nutritional counseling," Fox Decl. at 3, plaintiffs' expert begins with the

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total number of Oxford insureds in New York from December 2015 to 2023, and estimates, for

each year, the number of male and female insureds in various age groups, using U.S. census data

for New York State. Id. at 4. For each cohort, Dr. Fox estimates one-year prevalence rates for each

relevant ED, relying on national figures reported in 2020 by Deloitte Access Economics, the

Harvard T.H. Chan School of Public Health, and the Academy for Eating Disorders, id. at 5-7,3

and "one-year treatment rates by condition" using figures sourced from a 2019 study by Zachary

J. Ward (Harvard T.H. Chan School) and others. Id. at 7.4 For example, Dr. Fox estimates that the

one-year prevalence rate for anorexia nervosa in females is 0.180%, and that 15% of females with

anorexia nervosa receive treatment. See Fox Decl. at 6 tbl.3, 8 tbl.5.

       Because treatment for EDs does not necessarily include nutritional counseling, Dr. Fox

then adjusts his treatment rates downward, using two different adjustments. First, he applies a 60%

adjustment, based on a 2022 survey (of Australian eating disorder clinicians) which showed that

"an average of 60% of eating disorder patients are referred to a dietitian." Fox Decl. at 7.5 Applying

these rates to Oxford's New York members, Dr. Fox estimates that "between 1,300 to 1,795 Oxford



3
  See Deloitte Access Econ., Social and Economic Cost of Eating Disorders in the United States
of America: Report for the Strategic Training Initiative for the Prevention of Eating Disorders and
the Academy for Eating Disorders (June 2020), https://www.hsph.harvard.edu/striped/report-
economic-costs-of-eating-disorders.
4
 See Zachary J. Ward et al., Estimation of Eating Disorders Prevalence by Age and Associations
With Morality in a Simulated Nationally Representative US Cohort (JAMA Network Open 2019)
(Ward Study), https://jamanetwork.com/journals/jamanetworkopen/fullarticle/2752577. Ward and
his co-authors relied, in turn, on a 2007 analysis of data from the National Comorbidity
Replication, which was "a nationally representative face-to-face household survey (n_= 9282)
conducted in 2001-2003." See James I. Hudson et. al., The Prevalence and Correlates of Eating
Disorders in the National Comorbidity Survey Replication, 61 Biological Psych. 348, 348 (2007)
(Hudson Study).
5
  See Caitlin M. McMaster et al., Impact of Patient Characteristics on Clinicians' Decisions to
Involve Dietitians in Eating Disorder Treatment, 35 J. Hum. Nutrition and Dietetics 512 (2022)
(McMaster Report).

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insureds a year would have received nutritional counseling treatment for an eating disorder had

this been a covered benefit." Id. at 8, see also id. at 13 tbl.9 ("Baseline Estimate").

       Dr. Fox recognizes, however, that the 60% factor he uses for his "baseline" estimate

reflected "persons with health care insurance," and therefore "may overestimate actual utilization"

of nutritional counseling among persons who did not have (or did not know they had) coverage for

such treatment. Fox Decl. at 8-9. Consequently, Dr. Fox also considers "a lower bound set of

estimates based on a 24% nutritional counseling adjustment factor," id. at 10, derived from a 1989

survey of American women with EDs.6 Applying the 24% adjustment to Oxford's New York

members, he estimates that "between 513 to 709 Oxford insureds a year received nutritional

counseling treatment for an eating disorder." Id. at 10; see also id. at 13 tbl.9 ("Low Estimate").

       Turning to Oxford's claims data, Dr. Fox agrees with Oxford that there were 8,464 claims

filed for outpatient nutritional counseling services by 1,222 unique members with EDs. Fox Decl.

at 10 (referencing Oxford's supplemental interrogatory responses). Of these, Dr. Fox determines

that at least 1,461 claims, by 458 unique members, were denied because the services were "not a

covered benefit." Id. at 11. These figures are close to – but slightly higher than – those derived by

Oxford itself from the same data. Cf. Oxford Supp. Interrog. Resps. at 5 (stating that 1,360 claims

by 427 unique members were denied because the services were "not a covered benefit").

       Finally, for each relevant year, Dr. Fox compares (a) the number of Oxford members who

submitted claims for nutritional counseling services (22 to 314 per year) to (b) his "baseline

estimate" of the number of members who "would have received nutritional counseling" for an ED

"had this been a covered benefit"(1,300 to 1,795 per year), and (c) his "low estimate" of the number



6
 See Joel Yager, M.D., et al., Help Seeking and Satisfaction With Care in 641 Women With Eating
Disorders, 177 J. Nervous & Mental Disease 632 (1989) (Yager Survey).

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of members who "received nutritional counseling" for an ED (513 to 709 per year). See Fox Decl.

at 13 tbl.9. Table 9 is reproduced here in full (with the three right-hand columns labelled A, B, and

C for clarity):

         Table 9: Comparison of Count of Unique Members Estimated by Year
                              A                      B                 C
                       Oxford Records        Baseline Estimate    Low Estimate
                       (OXF0032564)
 Nov 30-Dec 31 2015           22                   1,461              577
        2016                 157                   1,579              624
        2017                 150                   1,795              709
        2018                 170                   1,771              699
        2019                 179                   1,711              676
        2020                 199                   1,539              608
        2021                 283                   1,439              568
        2022                 314                   1,346              531
 Jan 01-Sep 22 2023          250                   1,300              513
 Note: 2015 and 2023 are not full calendar years, so comparisons with Fox Model estimates of
 annual unique members may be limited. One method of adjustment not shown above is to
 adjust by number of months. For example, 2015 is effectively one month. Therefore, the 577-
 count presented in the Fox Model (Low Estimate) column could be adjusted to reflect one
 twelfth of the original estimate (i.e. 577 * (1/12) = 48).

If Dr. Fox is correct, the size of the No Claims Subclass (that is, the number of Oxford members

who were diagnosed with EDs and actually received outpatient nutritional counseling but did not

submit claims for those services) may be estimated by subtracting column A from column C.

        After setting out his results, Dr. Fox hypothesizes that a "key element" of the difference

between the "Oxford figures" (column A) and his "estimating models" (columns B and C) is

"knowledge by Oxford insureds that over most of the Study Period, nutritional counseling for

eating disorders was not a covered service. Thus, many insureds would be less likely to submit a

claim for a service they expect would be denied." Fox Decl. at 13.




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                 2.    Petron Report

        Oxford's expert, who is a Certified Public Accountant and a Certified Fraud Examiner, was

asked to (i) review the data produced by Oxford "to opine on whether it is possible to identify the

population of individuals meeting the criteria for membership in Plaintiffs' proposed class without

an individualized review of claims for each potential class member," and (ii) "review, analyze, and

critique" Dr. Fox's work. Petron Rep. ¶ 8

        Although Mr. Petron reviewed the same file provided to Dr. Fox (OXF0032564), he

filtered the data differently, in that he categorized a claim as "allowed" rather than "denied" if even

one "line item" within the claim "has an allowed amount." Petron Rep. ¶ 28. This boosted the

percentage of claims for nutritional counseling that Petron reported as "allowed," both before and

after the 2021 reconfiguration. See id. ¶¶ 29-32. Additionally, Petron argued that because the

Oxford file "only lists one denial reason per line item," it is "possible that but for the exclusion of

nutritional counseling for eating disorders pre-2021, other denial reasons would have prevented

these claims from being paid." Id. ¶ 49. For this reason, Petron stated, "I do not believe that the

Claims Data allows for one to identify a population of individuals whose claims for nutritional

counseling services would be covered but for the lack of a nutritional counseling benefit for eating

disorder diagnoses." Id. ¶¶ 35, 61. Lastly (as relevant here), Mr. Petron characterized the

assumptions that Dr. Fox used to estimate the number of Oxford members who received outpatient

nutritional counseling for EDs as "flawed," and argued that they led to an "unreliable estimate[.]"

Id. ¶ 11(iv).7



7
 Oddly, plaintiffs never submitted the entire Petron Report to the Court. In opposition to plaintiffs'
class certification motion, they submitted a partial copy, consisting of the first 30 pages of the 43-
page report (exclusive of exhibits). The partial copy includes the "Summary of Opinions" section,
as well as Mr. Petron's evaluation of the Oxford claims data, but does not include his fully-detailed
critique of the Fox Declaration.
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                3.      Supplemental Fox Declaration

        In his supplemental declaration, Dr. Fox defends his analysis against Mr. Petron's

challenges. He disagrees with Petron's definition of an "allowed" claim, calling it "overly

expansive." Fox Supp. Decl. at 5-7. Even using that expansive definition, Dr. Fox counts 413

unique members whose nutritional counseling claims for EDs were denied before Oxford's 2021

reconfiguration, and estimates that there were 430 (still well above the numerosity threshold)

across the entire Study Period. Id. at 6 tbl.1, 8 tbl.3. Dr. Fox also "disagree[s] with Mr. Petron’s

conclusion that it is not possible to estimate the population of individuals within the proposed

Class from the provided Claims Data[.]" Id. at 3. He argues that Petron's "conjectured hypothetical"

that some nutritional counseling claims might have been denied for other reasons is "meaningless,"

because, by definition, a member with an ED whose claim was denied for lack of coverage meets

the criteria for inclusion in the class. Id. at 8-9.

        Lastly (as relevant here), Dr. Fox agrees that his utilization estimates for nutritional

counseling are based on "statistics with degrees of uncertainty," Fox Supp. Decl. at 4-5, but

defends his conclusions as "reliable and reasonable" in light of available data. Id. at 5. For example,

Dr. Fox defends his "overall metric" that 20.72% of individuals suffering from an ED receive

treatment (of any kind) for that disorder, noting that four relatively recent studies all estimate

higher treatment rates. See id. at 16 tbl.8. He acknowledges that his baseline (high) estimate – that

60% of those in treatment for EDs would receive nutritional counseling as part of that treatment

(if it were a covered benefit) – relies on data from Australia, but argues that 60% is "likely an

underestimate relative to standard practice in the United States." Id. at 19.8 As for his low estimate



8
 Dr. Fox points out that the American Psychiatric Association (APA), unlike The Royal Australian
and New Zealand College of Psychiatrists, recommends nutritional counseling (in combination
with other therapies) for the treatment of EDs. Fox Supp. Decl. at 19.
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– that 24% of Oxford members in treatment for EDs actually received nutritional counseling – Dr.

Fox agrees that it was based on "older research," from "a period in which treatment

recommendations may have differed," but characterizes 24% as "reasonable if nutritional

counseling was selectively excluded from coverage for eating disorder treatment, as was the case

with Oxford insureds prior to 2021." Id. Further, Dr. Fox notes, Mr. Petron does not point to any

contrary data or "alternative estimates of nutritional counseling rates." Id. at 19.

II.    LEGAL STANDARDS

            A. Numerosity

       Class certification requires, among other things, a showing that the proposed class is "so

numerous that joinder of all members is impracticable[.]" Fed. R Civ. P. 23(a)(1). Courts in the

Second Circuit presume that the numerosity requirement is met if the putative class has forty or

more members. See, e.g., Shahriar v. Smith & Wollensky Rest. Grp., Inc., 659 F.3d 234, 252 (2d

Cir. 2011). Courts in our Circuit "generally do not require 'evidence of exact class size or identity

of class members to satisfy the numerosity requirement.'" Oladapo v. Smart One Energy, LLC,

2017 WL 5956907, at *8 (S.D.N.Y. Nov. 9, 2017) (quoting Robidoux v. Celani, 987 F.2d 931, 935

(2d Cir. 1993)), adopted, 2017 WL 5956770 (S.D.N.Y. Nov. 30, 2017). "Nevertheless, a plaintiff

seeking class certification 'must show some evidence of or reasonably estimate the number of class

members.'" Edge v. C. Tech Collections, Inc., 203 F.R.D. 85, 89 (E.D.N.Y. 2001) (quoting Pecere

v. Empire Blue Cross and Blue Shield, 194 F.R.D. 66, 69 (E.D.N.Y. 2000)). "Where the plaintiff's

assertion of numerosity is pure speculation or bare allegations, the motion for class certification

fails." Edge, 203 F.R.D. at 89.

       B.      Admissibility of Expert Evidence

       Rule 702 provides:



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          A witness who is qualified as an expert by knowledge, skill, experience, training,
          or education may testify in the form of an opinion or otherwise if the proponent
          demonstrates to the court that it is more likely than not that:

          (a)    the expert's scientific, technical, or other specialized knowledge will help
                 the trier of fact to understand the evidence or to determine a fact in issue;

          (b)    the testimony is based on sufficient facts or data;

          (c)    the testimony is the product of reliable principles and methods; and

          (d)    the expert's opinion reflects a reliable application of the principles and
                 methods to the facts of the case.

Fed. R. Evid. 702.

          Rule 702 "embodies a liberal standard of admissibility for expert opinions," Nimely v. City

of New York, 414 F.3d 381, 395 (2d Cir. 2005), such that "the rejection of expert testimony is the

exception rather than the rule." Fed. R. Evid. 702 advisory committee's note to 2000 amendments;

see also Chen-Oster v. Goldman, Sachs & Co., 114 F. Supp. 3d 110, 115 (S.D.N.Y. 2015) ("There

is a presumption that expert evidence is admissible." (citing Borawick v. Shay, 68 F.3d 597, 610

(2d Cir. 1995))). Nonetheless, the Rules of Evidence "assign to the trial judge the task of ensuring

that an expert's testimony both rests on a reliable foundation and is relevant to the task at hand"

before that testimony is presented to the jury. Daubert, 509 U.S. at 597; accord Kumho Tire Co.

v. Carmichael, 526 U.S. 137, 141 (1999). Here, defendant challenges both the relevance and the

reliability of Dr. Fox's testimony.9

          Relevance is governed by Rule 401 of the Federal Rules of Evidence. See Amorgianos v.

Nat'l R.R. Passenger Corp., 303 F.3d 256, 265 (2d Cir. 2002) ("In fulfilling this gatekeeping role,

the trial court should look to the standards of Rule 401."). Thus, relevance depends on the extent

to which (1) the proffered testimony "has any tendency to make a fact more or less probable than



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    Defendant does not challenge Dr. Fox's qualifications.
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it would be without evidence," and (2) "the fact is of consequence in determining the action." Fed.

R. Evid. 401. As the Second Circuit has noted, "the definition of relevance under Fed. R. Evid.

401 is very broad." United States v. Certified Env't Servs., Inc., 753 F.3d 72, 90 (2d Cir. 2014).

       Reliability depends on the indicia identified in Rule 702, "namely, (1) that the testimony is

grounded on sufficient facts or data; (2) that the testimony 'is the product of reliable principles and

methods'; and (3) that 'the witness has applied the principles and methods reliably to the facts of

the case.'" Amorgianos, 303 F.3d at 265 (quoting Fed. R. Evid. 702). However, "the Daubert

inquiry is fluid and will necessarily vary from case to case." Id. at 266. Thus, the law grants "broad

latitude" to district courts to determine reliability in context. Restivo v. Hessemann, 846 F.3d 547,

576 (2d Cir. 2017); see also Kumho Tire, 526 U.S. at 150-52 (1999) (because "there are many

different kinds of experts, and many different kinds of expertise," court are granted "considerable

leeway in deciding in a particular case how to go about determining whether particular expert

testimony is reliable").

       An expert's analysis must be "reliable at every step," meaning that "any step that renders

the analysis unreliable under the Daubert factors renders the expert's testimony inadmissible."

Amorgianos, 303 F.3d at 267 (quoting In re Paoli R.R. Yard PCB Litig., 35 F.3d 717, 745 (3d Cir.

1994)). However, testifying experts need not conduct original research; they may rely on facts or

data gathered by others, as long as "reasonable experts in the particular field would reasonably rely

on those kinds of facts or data in forming an opinion on the subject." Fed. R. Evid. 703; see also

Gussack Realty Co. v. Xerox Corp., 224 F.3d 85, 95 (2d Cir. 2000) ("The expert need not have

conducted her own tests."). Moreover, the court need not determine whether the expert's

conclusions are correct. See In re Paoli, 35 F.3d at 744 ("The evidentiary requirement of reliability

is lower than the merits standard of correctness."). If there are flaws in an expert's reasoning, only



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flaws "large enough" such that "the expert lacks 'good grounds' for his or her conclusions" require

exclusion. Amorgianos, 303 F.3d at 267 (quoting In re Paoli, 35 F.3d at 746).

       Although the Supreme Court has not definitively resolved "the extent to which a district

court must undertake a Daubert analysis at the class certification stage," In re U.S. Foodservice

Inc. Pricing Litig., 729 F.3d 108, 129 (2d Cir. 2013), it has suggested in dicta that such an analysis

is appropriate, see Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 354 (2011) ("The District Court

concluded that Daubert did not apply to expert testimony at the certification stage of class-action

proceedings. We doubt that is so[.]"), and courts in this district frequently undertake the inquiry

prior to deciding the certification motion itself. See, e.g., In re Int. Rate Swaps Antitrust Litig.,

2023 WL 8675625, at *2 (S.D.N.Y. Dec. 15, 2023); Passman v. Peloton Interactive, Inc., 671 F.

Supp. 3d 417, 431 (S.D.N.Y. 2023). In so doing, however, the courts recognize that at the

certification stage (as in a bench trial) the judge acts as both gatekeeper and factfinder. There is

thus no "risk of jury confusion." Simmons, 2024 WL 1468239, at *3 (denying Daubert motion

prior to bench trial); see also Joseph S. v. Hogan, 2011 WL 2848330, at *3 (E.D.N.Y. July 15,

2011) ("without the risk of poisoning the jury with misleading testimony of limited probative

value, see Daubert, 509 U.S. at 595, the Court can take evidence freely and separate helpful

conclusions from ones that are not grounded in reliable methodology"); In re LIBOR-Based Fin.

Instruments Antitrust Litig., 299 F. Supp. 3d 430, 471 (S.D.N.Y. 2018) (at the class certification

stage, the question "is not whether a jury at trial should be permitted to rely on the expert's report

. . . but rather whether the Court may utilize it in deciding whether the requisites of Rule 23 have

been met" (quoting Ge Dandong v. Pinnacle Performance Ltd., 2013 WL 5658790, at *13

(S.D.N.Y. Oct. 17, 2013))). Thus, all doubts "should be resolved in favor of admissibility." Am.

Empire Surplus Lines, 2024 WL 3638329, at *4.



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       Additionally, at the class certification stage, the Daubert inquiry extends only to the issues

"necessary to the Rule 23 analysis." In re LIBOR-Based Fin. Instruments, 299 F. Supp. 3d at 471;

see also Pinnacle Performance, 2013 WL at *13 ("[T]he inquiry is 'limited to whether or not the

[expert reports] are admissible to establish the requirements of Rule 23.'" (quoting In re NYSE

Specialists Sec. Litig., 260 F.R.D. 55, 66 (S.D.N.Y. 2009))). Thus, the Court need only consider

the portions of Dr. Fox's declarations relied on by plaintiffs to demonstrate numerosity. See Chen-

Oster, 114 F. Supp. 3d at 115 (at the class certification stage, "the scope of the Daubert analysis

is cabined by its purpose" and “the inquiry is limited to whether or not the expert reports are

admissible to establish the requirements of Rule 23").

III.   THE PARTIES' POSITIONS

       A.      Numerosity

       In their class certification papers, plaintiffs rely on Dr. Fox's work to show that both the

Denied Claims Subclass and No Claims Subclass are sufficiently numerous to permit certification.

See, e.g., Pl. Class Cert. Mem. at 13-14. As to the Denied Claims Subclass, Oxford does not dispute

numerosity. Indeed, its brief in opposition to class certification does not mention Dr. Fox's opinion

(or, for that matter, Mr. Petron's contrary views) in connection with the numerosity of the Denied

Claims Subclass. As to the No Claims Subclass, however, Oxford argues that Dr. Fox's estimates

concerning the number of plan members who received nutritional therapy for an ED are

"speculative" and "unreliable," leaving plaintiffs with "no real evidence" bearing on the size of the

No Claims Subclass. Def. Class Cert. Opp. at 12.

       B.      Admissibility of Expert Evidence

       Even though Oxford does not contest the numerosity of the Denied Claims Subclass, it

argues, in its Daubert motion, that Dr. Fox's estimate of the size of that subclass should be excluded



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because he "merely added up" numbers provided by Oxford, which the Court could have done

itself. See Def. Daubert Mem. (Dkt. 85) at 8-9.

       As to the No Claims Subclass, Oxford argues that Dr. Fox's testimony should be excluded

because: (i) he never expressly opined as to whether that subclass is sufficiently numerous for

certification, making his testimony "irrelevant," see Def. Daubert Mem. at 7-8; (ii) his declarations

lack the "support and rigor" required of an expert report under Fed. R. Civ. P. 26(a)(2)(B), see id.

at 10-12; (iii) he "failed to validate his assumptions," some of which were based upon "admittedly

insufficient data," see id. at 13-14; and (iv) some of the data he relied upon was too old or not

necessarily "representative of Oxford's insured population." See id. at 14-16. Plaintiffs defend Dr.

Fox on each point, and further argue that defendant's criticism "goes to the weight, not the

admissibility, of Dr. Fox's testimony," and therefore is not grounds for excluding his opinions. Pl.

Daubert Opp. (Dkts. 91, 93-1) at 21.

IV.    DISCUSSION

       A.      The Denied Claims Subclass

       As noted above, there were significant disagreements between Dr. Fox and Mr. Petron

concerning the Denied Claims Subclass. Not only did Petron use a different method to filter

Oxford's claims data (thereby arriving at a different count of claims allowed and claims denied);

he took the position that it was not possible to estimate the size of the Denied Claims Subclass

from the claims data alone. See supra Part I(D). Nonetheless, in its Daubert motion, Oxford asks

the Court to exclude Dr. Fox's opinions concerning the Denied Claims Subclass because he

"merely added up the total number of denied claims listed in an Excel file to arrive at his

numerosity estimate." Def. Daubert Mem. at 9. In defendant's view, this was a "simple exercise,"

"directed solely to lay matters which a [fact finder] is capable of understanding and deciding



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without the expert's help," and was therefore an improper subject for expert testimony. Id.

(alterations in original) (quoting United States v. Castillo, 924 F.2d 1227, 1232 (2d Cir. 1991)).

       Defendant's position is meritless. Combing through a lengthy data set, isolating and

aggregating the data, and presenting it "in a more readily understandable format" are appropriate

tasks for an expert. Louis Vuitton Malletier S.A. v. Sunny Merch. Corp., 97 F. Supp. 3d 485, 504-

05 (S.D.N.Y. 2015) (denying Daubert motion made on the ground that plaintiff's expert "did

nothing more than 'simply add up' figures provided to her by Sunny"). Moreover, before he could

perform any arithmetic, Dr. Fox was required to determine which claims to add up. That question

is well within the province of an expert. See Passman, 671 F. Supp. 3d at 435 (denying Daubert

motion made on the ground that Weir simply performed "grade-school arithmetic" because Weir

also "compiled [the] data that the Court would need to conduct this grade-school arithmetic"). The

fact that Oxford's expert also addressed the question of which claims to add up (and disagreed with

Dr. Fox) further demonstrates that the analysis was not a "simple exercise" easily performed by a

layperson. I therefore decline to exclude Dr. Fox's testimony concerning the Denied Claims

Subclass on the ground that the exercise was too simple to require expert assistance.

       In its reply brief, defendant adds a new line of attack: that Dr. Fox's work is "unnecessary

to show numerosity of the Denied Claims Subclass." Def. Daubert Reply Mem. (Dkt. 104) at 1.

As support for this argument, Oxford points to plaintiffs' assertion that this subclass "satisfies

numerosity regardless of whether the Court credits Mr. Petron's or Dr. Fox's analysis." Id. at 5.

       This point presents a closer question. An expert report may be excluded as unnecessary

when the opposing party has conceded the point for which the report was submitted. See, e.g.,

LaBounty v. Rivera, 1999 WL 1129063, at *5 (S.D.N.Y. Dec. 8, 1999) (explaining that plaintiff's

proposed expert medical evidence was properly excluded where defendant conceded, before trial,



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all of the issues to which that evidence could be relevant). Here, however, Oxford has not formally

conceded that the Denied Claims Subclass is numerous. It simply failed to contest the point in its

class certification papers. Under these circumstances, a district judge may (and arguably should)

review all of the numerosity evidence – including expert evidence – before making the required

Rule 23(a)(1) finding. See, e.g., Fort Worth Emp. Ret. Fund v. J.P. Morgan Chase & Co., 301

F.R.D. 116, 129, 131 (S.D.N.Y. 2014) (noting that "[d]efendants do not dispute [the expert's]

conclusion that the class is numerous and contains at least 1360 members," but nonetheless

examining the expert's "numerosity calculation method," finding it reliable, and ultimately

concluding that plaintiffs "satisfied the requirements of Rule 23(a)(1)"). I therefore decline to

exclude Dr. Fox's testimony concerning the Denied Claims Subclass on the ground that it has

become unnecessary.

        B.     The No Claims Subclass

               1.      Relevance

        According to Oxford, Dr. Fox's opinions are irrelevant to the numerosity of the No Claims

Subclass – and should be excluded on that basis – because, at deposition, he "specifically testified

that he was not offering any opinion beyond [the Denied Claims Subclass]." Def. Daubert Mem.

at 7.10 Plaintiffs concede that Dr. Fox did not directly opine on the numerosity of the No Claims



10
  When Dr. Fox signed his declarations, plaintiffs had not yet served their class certification
motion. The only class definition available to him was the definition contained in the First
Amended Complaint. At deposition, when that class definition was read to him, he agreed that it
was "the class definition for which [he] attempted to estimate numerosity." Fox Dep. Tr. I at 36:1-
13. The questioning continued:
Q. So your opinions in both of your reports, as it relates to numerosity, relate to the numerosity
   of this specific proposed class; is that correct?
A. That was my scope; correct.
Id. at 36:14-17.

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Subclass, but argue that his analysis is relevant to the question whether the No Claims Subclass is

sufficiently numerous to satisfy Rule 23(a)(1). Pl. Daubert Opp. at 2, 9.

       Plaintiffs are correct. "To be relevant, evidence need not be sufficient by itself to prove a

fact in issue[.]" United States v. Abu-Jihaad, 630 F.3d 102, 132 (2d Cir. 2010). It need only have

a "tendency" to make "more or less probable" a fact "of consequence in determining the action."

Fed. R. Evid. 401. In this case, the consequential fact that plaintiffs seek to establish is that there

were at least 40 Oxford members who received outpatient nutritional counseling for an ED during

the proposed Class Period but did not submit claims for that treatment. They must therefore show

that the number of members who received outpatient nutritional counseling for an ED was higher

– by at least 40 – than the number who, according to Oxford's claims data, submitted claims for

their nutritional counseling.

       Dr. Fox's work is highly relevant to this task. In his initial declaration, Dr. Fox estimates

the number of Oxford members who received outpatient nutritional counseling for an ED. Fox

Decl. at 3 (defining scope of work), 13 tbl.9 col. C (presenting results). While this analysis,

standing alone, is not dispositive of numerosity, it forms a necessary link in any chain leading to

an estimate of the size of the No Claim Subclass. It is therefore relevant to numerosity. See

Chalmers v. City of New York, 2022 WL 4330119, at *7 (S.D.N.Y. Sept. 19, 2022) (accepting

expert testimony regarding similarity of certain jobs as relevant to plaintiffs' race discrimination

claims, even though experts did not opine as to whether the jobs were similar "in all material

respects").

       Dr. Fox also provides a comparison table showing, on an annual basis: (a) how many

Oxford members with EDs submitted claims for outpatient nutritional counseling; (b) his

"baseline" estimate of how many members would have received such counseling, assuming



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coverage; and (c) his "low" estimate of how many Oxford members actually received such

counseling. Fox Decl. at 13 tbl.9. From this table, the Court can easily perform the last step, which

requires only simple arithmetic, and which reveals that – if Dr. Fox's estimates are reliable – there

were several hundred Oxford members every year who received outpatient nutritional counseling

for an ED but did not submit claims for that treatment.11

        Similarly, Dr. Fox's observation that the number of unique claims for outpatient nutritional

counseling jumped from approximately 700 each year before 2021 (that is, before Oxford began

covering those services) to approximately 1,650 "each year after January 1, 2021," Fox Decl. at

10, 11 tbl.7, has a "tendency" to make it "more probable" that there were at least 40 Oxford

members who received nutritional counseling for EDs during the earlier years but did not submit

claims for those services. The relevance inquiry requires nothing more. Amorgianos, 303 F.3d at

265.

               2.      Reliability

        Oxford challenges the reliability of Dr. Fox's opinions on several different grounds.

                       a.      Rule 26(a)(1)(B)

        During his deposition, Dr. Fox drew a distinction between a declaration and an expert

report. See Fox Dep. Tr. I at 32:21-22. He explained that his initial declaration (at 14 pages, not

including his CV and list of prior testimony) "was intended to be succinct," id. at 32:15, whereas,

in his experience, expert reports are longer, "more like 40 to 80 pages," "much more in depth,


11
   For example, Dr. Fox estimates that in 2019 there were at least 676 Oxford members who
received outpatient nutritional counseling for EDs. See Fox Decl. at 13 tbl.9 col. C (low estimate).
That same year, Oxford's claims data shows that 179 members submitted claims for that service,
see id. at 11 tbl.7, 13 tbl.9 col. A. Some of those claims were denied, see id. at 12 tbl.8, while
others were allowed. The difference between 676 and 179 is 497. Thus, if Dr. Fox's estimates are
reliable, there were at least 497 Oxford members who – in 2019 alone – received nutritional
counseling for an ED but did not submit claims for that treatment. By definition, those members
are part of the No Claims Subclass.
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[with] much more support, much more analysis, much more exploration of why I reached the

conclusions I did, more quantitative, more qualitative." Id. at 33:5-13. From this testimony, Oxford

concludes that Dr. Fox has "admitted" that neither of his declarations is an expert report "as

required by the Federal Rules of Civil Procedure," Def. Daubert Mem. at 10, and has "fully

acknowledged" that his testimony "does not even come close to meeting the exacting standard for

reliable testimony." Id. at 12.

       Plaintiffs respond that both of Dr. Fox's declarations satisfy the criteria set forth in Rule

26(a)(2)(B), see Pl. Daubert Opp. at 8, and add that while his initial declaration was "deliberately

succinct," his supplemental declaration (which is 27 pages long and discusses additional data

sources) "expanded" on the issues "significantly." Id. (quoting Fox Dep. Tr. II at 81:12-16).

       Plaintiffs are again correct. While Dr. Fox may be accustomed to writing longer reports

(perhaps for trial), Rule 26(a)(2)(B) does not prescribe a minimum page limit. Instead, it requires

a retained expert to produce a written report containing:

       (i)     a complete statement of all opinions the witness will express and the basis
               and reasons for them;

       (ii)    the facts or data considered by the witness in forming them;

       (iii)   any exhibits that will be used to summarize or support them;

       (iv)    the witness's qualifications, including a list of all publications authored in
               the previous 10 years;

       (v)     a list of all other cases in which, during the previous 4 years, the witness
               testified as an expert at trial or by deposition; and

       (vi)    a statement of the compensation to be paid for the study and testimony in
               the case.

Fed. R Civ. P. 26(a)(2)(B). Dr. Fox's declarations satisfy this standard. Although Oxford argues

that Dr. Fox failed to "test certain assumptions," failed to "comprehensively analyze the studies he

relied upon," and failed to "document his assessment" of those studies, Def. Daubert Mem. at 10-

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11, these critiques go to the quality of his analysis (discussed below), not his compliance with Rule

26(a)(2)(b).12 I therefore reject defendant's contention that Dr. Fox's declarations do not qualify as

an expert report.

                       b.      Insufficient Data

        Next, Oxford argues that Dr. Fox's estimates are unreliable because he had insufficient data

to "validate his assumptions." Def. Daubert Mem. at 13. Specifically, Oxford asserts, Dr. Fox

failed to validate his "assumption that the age and sex mix of Oxford's ERISA plan members is

comparable to that of the entire state [of] New York," because he "didn't have the data." Id.

(quoting Fox Dep. Tr. I at 83:21-84:7). But Oxford – which does have the data – offers no reason

to believe that the age and sex mix of its covered population in New York differs in any material

respect from the age and sex mix of all New York residents. Moreover, as Dr. Fox explained at

deposition, the U.S. census data upon which he relied is "very robust and statistically solid," such

that it was "reasonable and reliable," in his opinion, to use that data where, as here, "site-specific"

information was not available. Fox Dep. Tr. II at 83:11-20, 85:4-12.

        Oxford also faults Dr. Fox for relying on the 2019 Ward Study for his estimates of "one-

year treatment rates by condition," see Fox Decl. at 7, without "validat[ing] his assumptions." Def.


12
   It is true that Dr. Fox offers no support for his hypothesis that the difference between the
(estimated) number of Oxford members who received outpatient nutritional counseling for eating
disorders and the smaller number who submitted claims for such services was due, at least in part,
to the "knowledge by Oxford insureds that over most of the Study Period, nutritional counseling
for eating disorders was not a covered service." Fox Decl. at 13. At deposition, Dr. Fox
acknowledged that he did not have any "empirical data" or "validated opinions" to support that
hypothesis, "other than common sense." Fox Dep. Tr. I at 204:3-12. But Dr. Fox was retained to
estimate "the numerosity of persons suffering from [eating disorders] and their expected utilization
of nutritional counseling," Fox Decl. at 3, not to explain the low claims rate among this group.
Indeed, as defined by plaintiffs, the No Claims Subclass includes every Oxford member who
received outpatient nutritional counseling services but did not submit a claim for those services –
regardless of the reasons for that member's failure to claim. See Pl. Daubert Opp. at 10. Since Dr.
Fox's hypothesis as to those reasons is irrelevant to numerosity, his failure to state the "basis and
reasons" for that hypothesis cannot be grounds for excluding his numerosity opinions.
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Daubert Mem. at 13. At deposition, Dr. Fox explained that "he did not have any 'better data than

the originators of the study." Id. (quoting Fox Dep. Tr. I at 125:3-19).13 According to Oxford, this

rendered Dr. Fox's opinions "unreliable and subject to exclusion." Id. at 14. Again, however,

defendant presents no inconsistent data or contradictory research. Nor does it suggest that experts

in Dr. Fox's field cannot "reasonably rely" on prior academic research such as the Ward Study to

construct healthcare utilization models. See Fed. R. Evid. 703.14

        The courts draw a distinction between insufficient data and imperfect data. If a proposed

expert lacks the basic information required by professionals in his field to form an opinion, his

testimony will be excluded. See, e.g., King v. Wang, 2021 WL 5237195, at *15 (S.D.N.Y. 2021)


13
   Where Ward did not have discrete data regarding treatment rates for a specific cohort diagnosed
with a specific ED, he made assumptions based on the data he did have for other cohorts or other
EDs. For example, Ward assumed that the "12-month treatment probability" for males with
diagnosed with OSFED (Other Specified Feeding or Eating Disorder) was 15%, that is, the same
as the 12-month treatment probability for females diagnosed with OSFED. See Ward Study,
Supplementary Online Content, at 11. Dr. Fox incorporated these figures into his model, which
likewise assumed that the one-year treatment rate for both males and females with OSFED was
15%. See Fox Decl. at 8 tbl.5.
14
   In its reply brief, Oxford cites several cases for the proposition that an expert report should be
excluded where the expert fails to "validate" the data upon which he relies. See Def. Daubert Reply
Mem. at 8-9. They are all inapposite. For example, in Forte v. Liquidnet Holdings, Inc., 675 F.
App'x 21, 24 (2d Cir. 2017), where the plaintiff alleged that her former employer paid women less
than men, her expert "simply input the numbers he was given by Forte and used them to calculate
pay discrepancies," id. at 23-24, without doing anything to verify that the accuracy of the numbers.
And in United States v. Tuzman, 2017 WL 6527261, at *14-17 (S.D.N.Y. Dec. 18, 2017), Judge
Gardephe excluded testimony by a proposed ink-dating expert because, during his testing of the
notebook in question, he failed to use any of the "basic quality control protocols" set forth in the
scientific papers he relied upon, including maintaining written records of his "validation process,"
that is, the tests he claimed to have performed on ink samples of known ages to confirm the
accuracy of his process. Nothing in these cases – or any of the cases cited by defendant – suggests
that that an expert witness is required to independently "validate" the third-party academic research
that he relies upon to build a healthcare utilization model. See N.Y.C. Transit Auth. v. Express
Scripts, Inc., 588 F. Supp. 3d 424, 445 (S.D.N.Y. 2022) (rejecting similar failure-to-validate
argument and noting that that the Court was unable to find any "precedent requiring experts to
validate the data underlying each source on which they rely in order to satisfy the reliability
threshold for admissibility"), reconsideration denied, 2022 WL 3577426 (S.D.N.Y. Aug. 19,
2022), objections overruled, 2022 WL 20056027 (S.D.N.Y. Oct. 12, 2022).

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(excluding portions of expert art appraisal based on "a single prior sale"). Imperfect data, however,

goes to the weight of the expert's opinion, not its admissibility, and is not grounds for exclusion.

See In re Int. Rate Swaps, 2023 WL 8675625, at *4 (rejecting argument that financial expert's

report should be excluded because expert failed to validate the Bloomberg data he used as an

"imperfect proxy input" when estimating the value of an interest rate swap); Express Scripts, 588

F. Supp. 3d at 445 (denying Daubert motion because expert's failure to "validate the data she used

to form her opinion . . . goes to the weight of [her] testimony rather than to its admissibility");

King, 2021 WL 5237195, at *15. (admitting remaining portions of art appraisal, even though

expert's conclusions were based on "very few comparables" and on "information from Mainland

Chinese auction houses," which "frequently is unreliable"). As explained in In re Int. Rate Swaps,

"[t]he question for Daubert purposes is not whether the expert employed the best possible input

data to form her testimony, but whether 'the testimony is based on sufficient facts or data.'" 2023

WL 8675625, at *4 (quoting Fed. R. Evid. 702).

       Here, defendant has failed to show either that Dr. Fox's opinions were based on

"insufficient data," in violation of Rule 702, or that he relied upon facts or data beyond those that

experts in his field "would reasonably rely on," in violation of Rule 703. Consequently, any gaps

in the studies he relied on to build his model go to the weight of his testimony, not its admissibility.

                       c.      Unrepresentative Studies

       Lastly, Oxford contends that the studies upon which Dr. Fox relied rendered his opinions

unreliable because they were too old, not specific to New York, or "cherry-picked" to support Dr.

Fox's conclusions. Def. Daubert Mem. at 14. For example, Oxford questions Dr. Fox's reliance on

the "first nationally representative study of eating disorders in the United States," see Hudson

Study at 9, because he "did not perform any analysis to confirm that this data was representative

of recent nutritional counseling rates in New York for eating disorders." Def. Daubert Mem at 14.
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But Dr. Fox did not rely on the Hudson Study to determine "recent nutritional counseling rates in

New York," He relied on it (in part) to determine overall "treatment rates" for EDs. See Fox Decl.

at 7. And Oxford offers no reason to believe that overall ED treatment rates in the State of New

York are materially different from those in the rest of the country.

        The research that Dr. Fox actually relied on for his "low estimate" (that 24% of the Oxford

members in New York who were in treatment for their EDs received nutritional counseling as part

of their treatment) was the Yager Survey, published in 1989, based on a survey of 641 American

women with eating disorders. See Fox Decl. at 10 n.10. Oxford characterizes that data as

"outdated" and argues that it "cannot be used to reliably forecast current eating disorder treatment

trends." Def. Daubert Mem. at 15. Dr. Fox agrees that the Yager Survey is "based on older

research," from "a period in which treatment recommendations may have differed." Fox Supp.

Decl. at 19. He points out, however, that more recent studies show that providers prescribe

nutritional counseling to their ED patients at much higher rates, and that the APA now

recommends nutritional counseling for the treatment of EDs. See id. at 17-19. These data points

suggest, if anything that the 24% rate that Dr. Fox used as an "alternative lower bound," Fox Decl.

at 10, may have underestimated the proportion of Oxford-insured ED patients in New York who

actually received nutritional counseling.15




15
   Oxford notes that Dr. Fox did not rely on a "conflicting study," cited in the McMaster Report,
"that indicated that only 6% of eating disorder patients who present to their general practitioner
are referred to nutritional counseling." Def. Daubert Mem. at 15-16. The cited study, however,
surveyed only "primary care practitioners" (to the exclusion of psychiatrists, psychologists, and
other clinicians who treat patients with ED), and reported only direct referrals from the primary
care practitioner to the nutritionist. See Lorraine Ivancic et al., Prevalence and Management of
People With Eating Disorders Presenting to Primary Care: A National Study, 55 Austl. & N.Z. J.
Psych. 1089, 1089 (2021). It is therefore not a particularly useful gauge when trying to determine
what percentage of persons who are in treatment for ED receive nutritional counseling as part of
the treatment.
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       At best, Oxford has demonstrated that reasonable minds could disagree as to whether Dr.

Fox drew the most reasonable conclusions from the best available data. Under Daubert, however,

"an expert need not base his or her opinion on the best possible evidence, regardless of availability,

but upon 'good grounds, based on what is known.'" In re Fosamax Prod. Liab. Litig., 645 F. Supp.

2d 164, 178 (S.D.N.Y. 2009) (quoting Daubert, 509 U.S. at 590); see also Amorgianos, 303 F.3d

at 266 (an expert need not "back his or her opinion with published studies that unequivocally

support his or her conclusions"); In re Int. Rate Swaps, 2023 WL 8675625, at *4 (an expert need

not have "employed the best possible input data to form her testimony"). Thus, while Oxford has

raised questions about some of the assumptions made by Dr. Fox, it has not shown that his reliance

on the Ward Study, the Hudson Study, or the Yager Survey is "so 'speculative,' 'conjectural,' or

'unrealistic and contradictory' that they render his estimate of [ED treatment utilization]

fundamentally unreliable." In re Int. Rate Swaps, 2023 WL 8675625, at *4 (quoting Zerega Ave.

Realty Corp. v. Hornbeck Offshore Transp., LLC, 571 F.3d 206, 214 (2d Cir. 2009)). It is

significant, moreover, that Oxford's objections to Dr. Fox's utilization model "focus almost entirely

on his factual inputs and assumptions rather than his methodology." SourceOne Dental, Inc. v.

Patterson Companies, Inc., 2018 WL 2172667, at *6 (E.D.N.Y. May 10, 2018). "These objections

go to the probative value of [Dr. Fox's] testimony, not its admissibility[.]" Id.

V.     CONCLUSION

       For the foregoing reasons, defendant's motion to exclude Dr. Fox's opinions (Dkt. 84) is

DENIED. This means only that the Court "may utilize" his testimony "in deciding whether the

requisites of Rule 23 have been met." In re LIBOR-Based Fin. Instruments, 299 F. Supp. 3d at 471

(quoting Pinnacle Performance, 2013 WL 5658790, at *13). I express no opinion as to whether

that testimony, together with the other evidence adduced by plaintiffs, adequately demonstrates



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the numerosity of the proposed subclasses. That determination is for the District Judge. See id.

("[T]o the extent that flaws in expert testimony proffered at class certification do not warrant that

testimony's exclusion by the Court as gatekeeper under Daubert at the threshold, those flaws may

nonetheless be considered in the Rule 23 analysis undertaken by the Court as trier of fact.").

Dated: New York, New York                     SO ORDERED.
       November 21, 2024

                                              ________________________________
                                              BARBARA MOSES
                                              United States Magistrate Judge




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